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                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF TEXAS                           LOlU JAN
                                                                                                    IC PH 5:
                                        SAN ANTONIO DIVISION
                                                                                                             u
     UNITED STATES OF AMERICA,

                     Plaintiff,                           S                                           r3'kR
    V.

                                                              §      [In violation of:
    PAUL CASEY WHIPPLE,                                       §      l8U.S.C.225l(a)
                                                              §      Production of Child Pornography;
                                                              §      18 U.S.C. § 2252A(a)(2)
                                                             §       Distribution of Child Pornography;
                    Defendant.                               §       18 U.S.C. §2252A(a)(5)(B)
                                                             §       Possession of Child Pornography]

    THE GRAND JURY CHARGES:

                                                COUNT ONE
                                            [18 U.S.C. § 2251(a)]

         On or about July 22, 2015, within the Western District of Texas, and elsewhere, the Defendant,

                                          PAUL CASEY WHIPPLE,

    did knowingly employ, use, persuade, induce, entice and coerce, a minor, CV1, to engage in

    sexually explicit conduct, for the purpose of producing a visual depiction of such conduct, and

    which visual depiction has actually been transmitted in and affecting interstate and foreign

    commerce.

         All in violation of Title 18, United States Code, Section 225 1(a).

                                               COUNT TWO
                                            [18 U.S.C. § 225 1(a)]

         On or about July 21, 2016, within the Western District of Texas, and elsewhere, the Defendant,

                                          PAUL CASEY WHIPPLE,

    did knowingly employ, use, persuade, induce, entice and coerce, a minor,             Cvi, to engage in
    sexually explicit conduct, for the purpose of producing a visual depiction of such conduct and




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 which visual depiction has actually been transmitted in and affecting interstate and foreign

 commerce.

    All in violation of Title 18, United States Code, Section 225 1(a).

                                          COUNT THREE
                                       [18 U.S.C. § 2251(a)]

    On or about June 7, 2017, within the Western District of Texas, and elsewhere, the Defendant,

                                     PAUL CASEY WIIIPPLE,

did knowingly employ, use, persuade, induce, entice and coerce, a minor, Cvi, to engage in

sexually explicit conduct, for the purpose of producing a visual depiction of such conduct and

which visual depiction has actually been transmitted in and affecting interstate and foreign

commerce.

    All in violation of Title 18, United States Code, Section 2251(a).

                                         COUNT FOUR
                                      [18 U.S.C. § 2251(a)]

    On or about June 10, 2017, within the Western District of Texas, and elsewhere, the Defendant,

                                     PAUL CASEY WIIIPPLE,

did knowingly employ, use, persuade, induce, entice and coerce, a minor, CV1, to engage in

sexually explicit conduct, for the purpose of producing a visual depiction of such conduct and

which visual depiction has actually been transmitted in and affecting interstate and foreign

commerce.

   All in violation of Title 18, United States Code, Section 2251(a).

                                         COUNT FIVE
                                    [18 U.S.C. § 2252A(a)(2)]

   Between March 19, 2014, and July 2017, the exact date being unknown to this Grand Jury,

within the Western District of Texas, and elsewhere, the Defendant,



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                                     PAUL CASEY WHIPPLE,

 did knowingly distribute any child pornography, as defined in Title 18, United States Code, Section

 2256(8)(A), specifically, the video file titled                                    ,   in and affecting

 interstate and foreign commerce, by any means, including by computer,

    All in violation of Title 18, United States Code, Section 2252A(a)(2).

                                            COUNT SIX
                                      [18 U.S.C. § 2252A(a)(2)]

    Between April, 2015 and July 2017, the exact date being unknown to this Grand Jury, within

the Western District of Texas, and elsewhere, the Defendant,

                                    PAUL CASEY WHIPPLE,

did knowingly distribute any child pornography, as defined in Title 18, United States Code, Section

225 6(8)(A), specifically, the video file titled                  ,   in and affecting interstate and

foreign commerce, by any means, including by computer,

    All in violation of Title 18, United States Code, Section 2252A(a)(2).

                                         COUNT SEVEN
                                     [18 U.S.C. § 2252A(a)(2)]

    Between November 14, 2015 and July 2017, the exact date being unknown to this Grand Jury,

within the Western District of Texas, and elsewhere, the Defendant,

                                   PAUL CASEY WHIPPLE,

did knowingly distribute any child pornography, as defined in Title 18, United States Code, Section

2256(8)(A), specifically, the video file titled                                         in and affecting

interstate and foreign commerce, by any means, including by computer,

   All in violation of Title 18, United States Code, Section 225 2A(a)(2).




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                                           COUNT EIGHT
                                      [18 U.S.C. § 2252A(a)(2)]

     Between March 4, 2016, and July 2017, the exact date being unknown to this Grand Jury,

 within the Western District of Texas, and elsewhere, the Defendant,

                                    PAUL CASEY WHIPPLE,

 did knowingly distribute any child pornography, as defined in Title 18, United States Code, Section

 2256(8)(A), specifically, the video file titled                                     ,   in and affecting

interstate and foreign commerce, by any means, including by computer,

    All in violation of Title 18, United States Code, Section 2252A(a)(2).

                                           COUNT NINE
                                      [18 U.S.C. § 2252A(a)(2)]

    Between March 4, 2016, and July 2017, the exact date being unknown to this Grand Jury,

within the Western District of Texas, and elsewhere, the Defendant,

                                    PAUL CASEY WHIPPLE,

did knowingly distribute any child pornography, as defined in Title 18, United States Code, Section

2256(8)(A), specifically, the video file titled                                  ,       in and affecting

interstate and foreign commerce, by any means, including by computer,

    All in violation of Title 18, United States Code, Section 2252A(a)(2).

                                           COUNT TEN
                                   [18 U.S.C. § 2252A(a)(5)(B)]

    On or about December 19, 2017, within the Western District of Texas, the Defendant,

                                    PAUL CASEY WHIPPLE,

did knowingly possess material, specifically, a Western Digital 1TB hard drive, which contained

an image of child pornography, as defined in Title 18, United States Code, Section 2256(8)(A),

that involved a prepubescent minor, and which had been shipped and transported using any means



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and facility of interstate and foreign commerce, and was produced using materials that had been

mailed, shipped and transported in and affecting interstate and foreign commerce, including by

computer,

    All in violation of Title 18, United States Code, Section 2252A(a)(5)(B).

     NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                         [See Fed. R. Crim. P. 32.2]


              Sexual Exp1oiation of Children Violations and Forfeiture Statutes

    As a result of the foregoing criminal violations set forth above, the United States of America

gives notice to Defendant, PAUL CASEY WHIPPLE of its intent to seek the forfeiture of certain

property subject to forfeiture, including but not limited to the digital and electronic devices seized

by law enforcement during the investigation of this case, upon conviction and pursuant to Fed. R.

Crim. P.32.2 and Title 18 U.S.C.   §   2253(a)(1), (2), and (3), which states:

       Title 18 U.S.C. § 2253. Criminal forfeiture
              (a) Property subject to criminal forfeiture.-A person who is convicted of
              an offense under this chapter involving a visual depiction described in
              section 2251, 2251A, 2252, 2252A, or 2260 of this chapter or who is
              convicted of an offense under section 2251 B of this chapter, or who is
              convicted of an offense under chapter 109A, shall forfeit to the United
              States such person's interest in-

                      (1) any visual depiction described in section 2251, 2251A, 2252,
                      2252A, or 2260 of this chapter, or any book, magazine, periodical,
                      film, videotape, or other matter which contains any such visual
                      depiction, which was produced, transported, mailed, shipped or
                      received in violation of this chapter;
                      (2) any property, real or personal, constituting or traceable to gross
                      profits or other proceeds obtained from such offense; and




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                       (3) any property, real or personal, used or intended to be used to
                       commit or to promote the commission of such offense or any
                       property traceable to such property.


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      JOHN F. BASH
      UNITED STATES         TORNEY
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BY:
      TRACY        MPSON
      Assistant Umted States Attorney




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